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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION

 KARINE COLLINS,

       Plaintiff,
                                                    Case Number:
 v.

 EVERGLADES HOUSING GROUP, INC.

      Defendant.
 __________________________________/

                    COMPLAINT AND JURY DEMAND

       Plaintiff, KARINE COLLINS, hereby brings this action for damages

 against Defendant, EVERGLADES HOUSING GROUP, INC., and alleges

 Defendant violated both the Fair Labor Standards Act (“FLSA”) and the

 Consolidated Omnibus Budget Reconciliation Act (“COBRA”). In support

 of her allegations, Plaintiff states as follows:

                                      Parties

       1.     Plaintiff is a qualified female who was employed by Defendant

 as a property manager.

       2.     Defendant operates and maintains housing units for migrant

 agricultural workers in Hillsborough County, Florida.
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                                 Jurisdiction

       3.    Defendant is a not-for-profit corporation headquartered in

 Miami-Dade County, Florida.

       4.    Defendant is incorporated in Miami-Dade County, Florida.

       5.    Defendant operates and maintains a housing facility in

 Hillsborough County, Florida.

       6.    Defendant    conducts    business   in   among    other   places,

 Hillsborough County, Florida.

       7.    Defendant employed Plaintiff in its facility located in

 Hillsborough County, Florida.

       8.    Plaintiff performed services for Defendant, as an employee, in

 Hillsborough County, Florida.

       9.    Plaintiff brings this action against Defendant pursuant to the

 FLSA (29 U.S.C. 201, et. seq.) and COBRA.

       10.   Thus, this Court has jurisdiction pursuant to 28 U.S.C. § 1331.

       11.   Defendant is an Employer as defined by the FLSA.

       12.   Defendant is a Plan Administrator as defined in the COBRA.

       13.   The Court has jurisdiction as the unlawful employment

 practices took place in Hillsborough County, Florida.




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                             Factual Allegations

       14.   On or about June 20, 2018, Defendant hired Plaintiff as a non-

 exempt office worker.

       15.   At all times during Plaintiff’s employment with Defendant,

 Plaintiff was employed by Defendant as a non-exempt, hourly employee.

       16.   Indeed, Plaintiff was never compensated on a salary basis

 during her employment with Defendant and her weekly wages varied based

 on the number of hours worked by Plaintiff for Defendant.

       17.   Plaintiff was paid on an hourly basis and earned $15 per hour

 while employed by Defendant.

       18.   As an hourly office worker, Plaintiff regularly and routinely

 performed the following duties: making interstate phone calls, receiving

 interstate mail, sending interstate mail, sending and receiving interstate

 electronic mail, processing electronic payments with interstate banks,

 communicating with the federal government, and routinely interacting with

 individuals and tenants who recently traveled to Florida from other states

 and countries.

       19.   Defendant’s organization primarily provides temporary housing

 to seasonal agricultural workers. The workers to whom Defendant leases the

 majority of its units to are seasonal and transitory workers who come to



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 Florida from other states and countries on a temporary basis to provide

 manual agricultural labor. Defendant actively solicits out-of-state workers to

 contract with Defendant.

       20.    As an office worker in Defendant’s Ruskin, Florida location,

 Plaintiff interacted with foreign workers on a day-to-day basis as a regular

 part of her job duties and responsibilities to provide the foreign workers with

 housing.

       21.    Throughout the entirety of Plaintiff’s employment with

 Defendant, Plaintiff regularly worked more than 40 hours in a single week.

       22.    Although Plaintiff regularly worked more than 40 hours in a

 single workweek, Defendant actively prevented Plaintiff for recording all

 hours worked.

       23.    Thus, Plaintiff was not compensated for all hours worked.

       24.    Additionally, Plaintiff was entitled to be compensated at a rate

 of one-and-one-half times her regular rate for all hours worked beyond 40 in

 a single workweek.

       25.    Under the FLSA Plaintiff was entitled to receive “premium

 wages” for the hours worked beyond 40 in a single workweek.




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       26.   Plaintiff performed the vast majority of her work duties and

 responsibilities while physically located in Defendant’s facility and working

 in full view of Defendant.

       27.   While working in full view of Defendant, Plaintiff regularly

 and routinely worked more than 40 hours during the majority of the

 workweeks during her employment with Defendant.

       28.   On number occasions, Plaintiff attempted to properly record the

 accurate and total amount of hours worked by Plaintiff during each

 workweek and Defendant aggressively and vehemently prevented Plaintiff

 from recording all hours worked.

       29.   Indeed, Plaintiff’s manager – who is a very large and imposing

 male – forcefully told Plaintiff that she was not allowed to record the

 overtime hours worked and if she were to continue to record or attempt to

 record her overtime hours, she would be terminated.

       30.   Plaintiff was intimidated by the physical stature of her manager

 and was afraid of being terminated if she continued to record or attempt to

 record all hours worked during a single workweek.

       31.   Therefore, Plaintiff regularly and routinely worked off the clock

 without recording all of her working hours.




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       32.   Despite not recording all of the hours she spent working,

 Defendant was intimately aware of the hours worked by Plaintiff because

 Plaintiff performed the vast majority of her work in the office in front of

 Defendant’s employees.

       33.   Plaintiff also informed her manager on many occasions that she

 was unable to complete all of her tasks within 40 hours and she needed to

 work overtime in order to complete her job duties.

       34.   Plaintiff’s manager indicated that he did not care how long it

 took her to complete the work, just that the work needed to be completed off

 the clock and that Plaintiff was prohibited from recording overtime hours.

       35.   In fact, it was common for Plaintiff’s manager to remove hours

 that Plaintiff had recorded on her timesheet. This was done to avoid paying

 Plaintiff overtime wages.

       36.   Essentially, Defendant engaged in the illegal practice known as

 “time-shaving” in order to extract additional work from Plaintiff without

 compensating Plaintiff for all of the work she has performed.

       37.   As a result, Plaintiff was not compensated for all of the time she

 spent working for Defendant and was not always paid one-and-one-half

 times her regular rate for all hours worked beyond 40 in a single workweek.

       38.   Defendant terminated Plaintiff’s employment on May 17, 2021.



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       39.    Defendant’s termination of Plaintiff’s employment was a

 qualifying event entitling Plaintiff to receive a COBRA notice of benefits.

       40.    As of the time of this filing, Plaintiff has not received any

 notice – COBRA or otherwise – from Defendant informing Plaintiff that she

 no longer has insurance benefits through Defendant or can elect COBRA

 benefits.

       41.    Defendant should have provided, or caused to be provided, a

 notice informing Plaintiff that her health insurance had been canceled and

 that Plaintiff could elect to continue her medical coverage via COBRA.

       42.    During Plaintiff’s employment with Defendant, Plaintiff

 participated in Defendant’s group health plan within the meaning of 29

 U.S.C. § 1167(1).

       43.    Defendant is the sponsor and administrator of the group health

 plan and was subject to the continuation of coverage and notice requirements

 of COBRA.

       44.    Plaintiff experienced a qualifying event as defined by 29 U.S.C.

 § 1163, and Defendant was aware that Plaintiff had experienced such a

 qualifying event.




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       45.    Because of Plaintiff’s qualifying event, Plaintiff was entitled to

 receive a COBRA notice from Defendant.

       46.    Defendant failed, neglected, and refused to produce any

 COBRA related notice to Plaintiff.

       47.    Defendant knew that it did not issue any COBRA notice to

 Plaintiff, in direct violation of 29 U.S.C. § 1163 and 29 C.F.R. § 2590.606-4

 but made no attempt to correct this error.

       48.    In fact, Plaintiff contacted Defendant’s health insurance

 company, CIGNA, requesting COBRA information and was told that

 Defendant refused to provide Plaintiff with COBRA information.

       49.    These violations were material and willful.

  COUNT I- RECOVERY OF OVERTIME WAGES COMPENSATION

       50.    Plaintiff reincorporates and readopts all allegations contained

 within Paragraphs 1-49, above.

       51.    Plaintiff was employed by Defendant and was, at all times,

 protected by the FLSA.

       52.    Plaintiff was entitled to receive one-and-one-half times her

 regular rate for all hours worked beyond 40 in a single work week.

       53.    Defendant engaged in an illegal policy of not paying Plaintiff

 premium wages for all hours worked beyond 40 in a single work week.



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       54.    Plaintiff was damaged as a result of Defendant’s failure to pay

 Plaintiff premium wages for all hours worked beyond 40 in a single

 workweek.

       55.     As a result of Defendant’s willful violation of the FLSA,

 Plaintiff is entitled to payment of the unpaid premium wages, liquidated

 damages, attorney’s fees, and costs.

       56.    Plaintiff demands a trial by jury.

    COUNT II- VIOLATION OF 29 U.S.C. § 1166 (a) and 29 C.F.R. §.
                         2590.606-4

       57.     Plaintiff hereby reincorporates all paragraphs 1-56 herein and

 states as follows:

       58.    Plaintiff was employed by Defendant.

       59.    Defendant employed more than 20 employees during Plaintiff’s

 employment.

       60.     Defendant is the administrator of Defendant’s group health

 medical insurance program.

       61.    Plaintiff participated in Defendant’s group health medical

 insurance program.

       62.    Defendant terminated Plaintiff’s employment on May 17, 2021.

       63.    Plaintiff’s termination was a qualifying event as defined in 29

 C.F.R. 2590.606-4

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         64.   Plaintiff was entitled to receive a COBRA notice informing her

  that her medical insurance benefits were being terminated within 14 days of

  her termination.

         65.   Plaintiff was entitled to receive a COBRA notice informing her

  of the option to maintain her medical insurance benefits within 14 days of

  her termination.

         66.   Defendant did not provide Plaintiff with any COBRA notice

  concerning the termination of her medical insurance benefits or the

  opportunity to continue her medical insurance benefits.

         67.   Plaintiff has been damaged by Defendant’s failure and refusal

  to provide Plaintiff with a COBRA notice.



         WHEREFORE, Plaintiff demands judgment for damages against

  Defendant together with back pay, front pay, reinstatement, interest,

  liquidated damages, costs and attorney’s fees and other relief permitted by

  law.

         DATED this 29th day of June, 2021.

                                 Respectfully,


                                              /S/ Kyle J. Lee
                                              Kyle J. Lee, Esq.
                                              FLBN: 105321

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